
Kirkpatrick, C. J.
— -This is an action on the case. It appears from the justice’s return, that a difference arose between the parties concerning certain damages said to be done by the defendant to the plaintiff’s meadows; that this difference was submitted to arbitrators, and that the arbitrators awarded to the plaintiff the sum of $25; that the *310admission and award were by parol only and not in writing, and that upon that award this action is brought.
Hornblower, for plaintiff.
There are several causes assigned for the reversal of the judgment; perhaps more than one of them may contain something of substance. I shall take notice of the second only, viz.: that this ought to have been an action of debt, and not an action on the case. At common [*] law, it would have been well enough in its present form; but by the act of Assembly, in that respect, the remedy is changed. It is a simple contract for the payment of money. It ought to have been an action of debt. Therefore, I am of opinion, there must be a reversal.
Rossell, J.
— An action on the case cannot be sustained on this state of demand, according to our act of Assembly. The justice should have allowed the motion of the defendant below for a nonsuit; on that ground he concurred in a reversal.
Pennington, J. — Concurred.
Judgment reversed.
Cited in Sayres v. Inhab. of Springfield, 3 Halst. 166.
